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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DMSION

 UNITED STATES OF AMERICA                             §
 vs.                                                  §
                                                      §      Case No. 2:15-CR-87- b
JONATHAN KHALID PETRAS (01)                           §
WISAM IMAD SHAKER (02)                                §
ESSA SOLAQA (03)                                      §
KHALID YOHANA (04)                                    §

                               AGREED PROTECTIVE ORDER

         Defendants JONATHAN KHALID PETRAS, WISAM IMAD SHAKER, ESSA

SOLAQA, AND KHALID YOHANA, ("Petras, et al.) and THE UNITED STATES OF

AMERICA file this Proposed Agreed Protective Order in the above-entitled and numbered

cause.

The Court hereby ORDERS as follows:

         1.    In this Action, Case No. 2:15-CR-87, any party or any nonparty producing or

furnishing infonnation of any nature to another party (a "Producing Party") may, in accordance

with the procedures set forth in paragraph 6 herein, designate as "Confidential" any non-public

document or part thereof or any discovery response that such counsel believes in good faith to

contain or reflect "Confidential Infonnation." Such designation shall be made at the time the

infonnation is produced or furnished, or at a later time as provided in paragraph 10 herein. For

purposes of this Protective Order, Confidential Information shall include infonnation that is

privileged or otherwise exempt from discovery under applicable law, trade secrets and .

proprietary infonnation, or other confidential business or personal private infonnation. Any

party may, at any time, request that a "Confidential" designation be removed and, if the

Producing Party objects, seek relief from the Court pursuant to paragraph 6(e) herein.
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                  2.     Confidential information shall be used only for the purposes of prosecuting or

      defending this Action and not for any business or other purpose whatsoever. Confidential

      information shall not be given, shown, made available, or communicated in any way to anyone

      except those persons specified in paragraph 3 herein.

                3.      Except by prior written consent of the Producing Party, or by further Order of the

      Court after reasonable advance notice to the Producing Party's counsel, and subject to the other

     provisions of this Order, information designated as "Confidential" may not be disclosed in any

     manner to any person other than:

             (a)        The parties to this Action;

             (b)        counsel to the parties to this Action;

             (c)        paralegal, clerical, investigatory, and support personnel employed or retained by

                       counsel for any party to this Action;

            (d)        independent consultants and experts engaged by the parties to this Action, subject

                       to paragraph 4;

            (e)        actual witnesses during trial of this Action and their respective attorneys who are

                       not otherwise encompassed within subparagraphs (a) or (d) above, subject to

                       paragraph 4; and

            (f)        the Court and its staff, including any stenographic reporter who record any court

                       proceedings in this Action.

           4.          All persons or entities to whom Confidential Information is disclosed shall be

    informed of the terms of this Protective Order. In addition, before Confidential Information is

    disclosed to any person described in subparagraphs 3(d) and (e), such person or entity shall be

    informed that:
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           (a)      such information is claimed to be Confidential Information of the Producing

                    Party;

          (b)       such information is subject to this Protective Order; and

          (c)       violation of this Protective Order may subject the disclosing person to penalties

                    assessed by this Court.

          5.        Counsel shall obtain from any person or entity described in subparagraphs 3(d)

  and (e), herein a written acknowledgment, in the form of Exhibit A annexed hereto, that such

  person or entity has reviewed a copy of this Protective Order and has been informed of its effect.

  Such signed acknowledgment shall be retained by counsel who obtained them.

         6.(a) In the case of documents, designation shall be made by placing the legend

 "Confidential" on those pages of a document deemed to contain Confidential Infonnation. Ifthe

 entire document is deemed to contain Confidential Information, the legend "Confidential" need

 be placed only on the first page.

           (b) A party may contest a confidentiality designation by notifying the designating

person or party, in writing, that the receiving party objects to the particular confidentiality

designation. Those involved shall work together in good faith to resolve the objection. If no

resolution is reached, the party objecting to the particular confidential designation may file a

motion with the Court seeking resolution of the objection. The party objecting to the designation

of the document has the burden of proving the document should not be so designated.

         (c) All of the documents, material or information that are the subject of the dispute will

continue to be subject to this Agreed Protective Order unless and until the Court rules otherwise.

No presumption of confidentiality shall arise merely because of the existence of this Agreed

Protective Order.
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         (d) Confidential information subject to this Protective Order shall mean information not

 generally known to the public, and information shall not be subject to this Order as Confidential

 Information, if the content and/or substance thereof:

              · (i) is, at the time of the disclosure, in the public domain, by publication or

 otherwise;

                (ii) becomes at any tiine, through no act or failure to act on the part of the

receiving party, part of the public domain, by publication or otherwise;

                (iii) is already in the possession of a party at the time of disclosure by the other

party and was not acquired directly or indirectly from the disclosing party; or

                (iv) is made available to a party by a third party who obtained the same by legal

means and without any obligation of confidence to the party claiming its

confidential nature.

        7.     No party to this Action who treats information as "Confidential" in accordance

with the terms of this Order shall be deemed tp have conceded that the information actually is

"Confidential." Neither the designation of any information as "Confidential" nor the failure to

make such designation shall constitute evidence with respect to any issue in this action.

       8.      If any party or entity fails to designate documents or copies as "Confidential," that

party/entity does not waive its right to designate them as "Confidential" at any time, and the

parties agree that such designation will be effective unless the objecting party outlines in writing

that it will suffer undue prejudice by the designation and then obtains a court order that affirms

the objecting party will suffer undue prejudice by the designation.

       9.      If a party or nonparty produces two or more identical copies of a document and

only one is designated as "Confidential,'' all such identical copies shall be treated as
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 "Confidential" in accordance with this Protective Order, once the inconsistent designation is

 known.

          10.   Within ninety (90) days after conclusion of this Action, including any appeal, all

Confidential Information and all documents containing or reflecting Confidential Information,

including but not limited to copies, summaries, and excerpts, that are in the possession of any

Receiving Party or its attorneys, except for documents containing the Receiving Party's attorney

work product, either (a) shall be returned to the Producing Party or (b) shall be destroyed, with a

confirmation of destruction served on the Producing Party, except as the Court may otherwise

order or as the parties may otherwise agree.

        11.     This Protective Order applies to all Confidential Information produced in

connection with this Action, including all Confidential Information produced prior to the date

this Protective Order is signed. Any violation of this Protective Order shall subject the violating

party or persons to all remedies deemed appropriate by the Court.

       12.      The Clerk of the Court is directed to maintain under seal all information,

documents, objects, and other materials filed with the Court that have been designated by a party

or producing non-party to this Action as "Confidential." To assist the Clerk, any document or

object a party wishes to have placed under seal pursuant to this Order shall be filed with the

Clerk's office in a sealed envelope or other appropriate sealed container on which shall be

endorsed the title and docket number of this Action, an identification of the nature of the

contents of the sealed envelope or container, the word "Confidential," and a statement

substantially in the following form: "This envelope [container] contains documents [objects] that

are filed in this case by [name of party or producing no-party entity] and is not to be opened, nor
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 are the contents thereof to be displayed or revealed, except by written Order or under the

 direction of the Court.

 13.    Due to the issues presented in this Action, pretrial discovery is likely to implicate

 information designated by the U.S. Transportation Security Administration (TSA) as Sensitive

 Security Information (SSI), which is subject to federal law. The parties acknowledge that the

 disclosure and handling of SSI will be subject to TSA approval and any restrictions that it may

 impose. The parties do not intend that this protective order supersede or conflict with such

 approval, restrictions or procedural requirements of applicable federal statues or regulations.

 14.    This Protective Order in and of itself, is not grounds for any party to argue for the

production of documents that are otherwise subject to a party's or non-party's valid objections to

 such production.

 15.    A Producing Party may designate documents as "Confidential- Attorney's Eyes Only."

Documents designated as "Confidential- Attorney's Eyes Only'' shall be subject to all ofthe

same requirements as documents designated as "Confidential" plus the additional requirement

that such documents shall not be disclosed to any defendant in this Action.

AGREED AS TO FORM & SUBSTANCE

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                                          EXHIBIT A


                          UNITED STATES DISTRICT COD""RT
                           NORTHERN DISTRICT OF TEXAS
                               AMARILLO DMSION

UNITED STATES OF AMERICA                   §
                                           §
vs.                                        §
                                           §       Case No. 2:15-CR-87- D
JONATHAN KHALID PETRAS (01)                §
WISAM IMAD SHAKER (02)                     §
ESSA SOLAQA (03)                           §
KHALID YOHANA (04)                         §



                                ACKNOWLEDGEMENT

      I , - - - - - - - - - - - - - - ' do declare and state as follows:

      1.    I am employed b y - - - - - - - - - - - (name of employer) as

            - - - - - - , - - - - - - - ( j o b title/position).

      2.    A copy of the Protective Order in this case has been given to me, and I have read

           it.

      3.   I have been informed and understand that any disclosure of Confidential

           Information (as defined in the Protective Order) to any person or entity, except as

           permitted by the Protective Order, may subject the disclosing party to penalties as

           the Court deems appropriate.

      4.   I agree to subject myself to the jurisdiction of the United States District Court for

           the Northern District of Texas, Amarillo Division for purposes of enforcement of

           the Protective Order.

      Executed this -------- day of - - - - - - - -, 2016.
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                                     Printed N a m e - - - - - - - - - -
                                     Employer _ _ _ _ _ _ _ _ _ __
